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     In re the Marriage of Elyssa M. Fox, Petitioner  and  Alexander L. Speaker, Respondent No. 24SC76Supreme Court of Colorado, En BancJuly 1, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1962
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CHIEF
      JUSTICE BOATRIGHT would grant as to the following issue:
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the trial court may consider a relocating parent's
      admission or acknowledgement that he or she will not relocate
      in the event their request is denied, prior to making the
      initial determination on that parent's relocation
      request.
    